      Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 1 of 48




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


PROPERTY OF THE PEOPLE, INC., et al., )
                                      )
          PLAINTIFFS                  ) Civil Action No. 1:17-cv-1193 (JEB)
     vs.                              )
                                      )
                                      )
DEPARTMENT OF JUSTICE,
                                      )
                                      )
          DEFENDANT                   )
                                      )




                               EXHIBIT 1
                             Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 2 of 48
                f.


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     A




     •-v·                    :           DEPARTMENT OF THE T~EASURY
                                                U.S. CUSTOMS $9WICE
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                                                 LOS ANGE.ES. CAUFOAl-iiA

                                                      JUN 25 1998                                       b7E Per CBP




                                                                                                  b6 Per CBP
                                                                                                  b7C Per CBP


      I                  I
     SubJecti                    ·FrSGdam of trnonnatfon Act #BAG-FA:@,2720--048
     I  ,
                                  Hotel Ramada d' Ne\o't!d~              I '
     i
      ·1.-----1.
     Ipss ..___ _ __.

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     J~ 1~~ 1998, 1:• which )"(JU ~for copies of the~~~~=~~ Form 60598 on
     behalf¥ your client. Hotul Ramada of Navada's ernployeel,-
                                                             ___________.pertait1ing to                 b6 Per CBP
                                                                                                        b7C Per CBP
     an April;13, 199T llfld june 23, 1ii7 c!earance ~~Un
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          · ~8 hif&Ye located the ~ s ~rb:tinir\<l              tq                  I~ms            .
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     &1'$ aLa1hortb.g the re\ea&e cf these forms u~er ttw wnrs rif the Freedom of
     ~nt'bm~ion Ad (FOtA), s U.S.C. § 552.                      .
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      Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 3 of 48




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


PROPERTY OF THE PEOPLE, INC., et al., )
                                      )
          PLAINTIFFS                  ) Civil Action No. 1:17-cv-1193 (JEB)
     vs.                              )
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DEPARTMENT OF JUSTICE,
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          DEFENDANT                   )
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                               EXHIBIT 2
                                                                •
            Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 4 of 48


                              •                  U.S. Department of Justice


                                                 Federal Bureau of Investigation


                                                 John Lawrence Bailey FBI Building
In Reply, Please Refer   to                      700 East Charleston Boulevard
FileNV66B-LV-29911                               Las Vegas, Nevada 89104
                                                 December 1·5, 1998


                                                                                                b3 -1
                                                                                                b6 -2,-5 , -6
 Nevada State Gaming Control Board
                                                                                                b7C -2,-5,-6
 555 East Washington Avenue
                                                                                                b7D -1
 Las Vegas, Nevada 89101



  Dea~~-------~
             As ·you may know, the FBI is presently conducting an
  investigation r~lating• to the collection of gambling debts in
  Korea by the Mirage and other Las Vegas gaming properties . As
  par,t of that investi ation we will be interviewin                                            n
  Januar of ··1999.




                                  attorne


                                   o....__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ____.



            Please let me know if you have any objectio~n:.:....~t~o----~
  permitting!           !to exam~ne the transcripts ofl
  testimony. Thank you for your assistance.             L----b-    3___
                                                                      1                     __,J



                                                                                       b6 -1,-2,-5,-4,-6
                                                                                       b7C -1,-2,-5,-4,-6
                                                 Sincerely yours,                      b7D -1




                                                 Special Agent



  cc: AUSAj~-------'



                                                                                   People-305
      Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 5 of 48




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


PROPERTY OF THE PEOPLE, INC., et al., )
                                      )
          PLAINTIFFS                  ) Civil Action No. 1:17-cv-1193 (JEB)
     vs.                              )
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DEPARTMENT OF JUSTICE,
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          DEFENDANT                   )
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                               EXHIBIT 3
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                   Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 6 of 48



                                        HUNTERTON S ASSOCIATES
                                                ATTORNEYS AT LAW
C. STANLE:Y HUNTE:RTON                         333 SOUTH Sl?<TH STREET             TE:LE:PHONE: (7021 388•0098
SAMUE:L 8 . 8E:NHAM                                                                 FACSIMILE: (7021 388•0361
PAME:LA R . LAWSON
                                             · LAS VEGAS. NEVADA 89101
                                                                               e:•MAIL: <Ha.LasVegasOworldnet.au.net>
TE:RRY JOHN CARE:      •
KATHE:RINE: M. PE:CK




                                                      May 5, 1999 .


     VIA HAND DELIVERY


                                                                                                                   b6 -4
     Assistant U.S. Attorney                                                                                       b?C -4
     701 E. Bridger Ave., #500
     Las Vegas,NV 89101

               Re:         ~ v. Trump Hotel & Casino, et al.

     Derul....__     __.

            Enclosed pl~ase find a copy of the captioned complaint, which I mentioned in my letter of
     Aprii 21, 1999. I dic4i't hav~ t~e complaint in hand when I wrote _you on the day it was filed, but
     wanted you and.your "successor in interest" to have it.

               I hope to see you before you leave for Washington, D.C.


                                                               Sincerely,

                                                               HUNTE         ASSOCIATES
                                                                                                                        b6 -6
                                                                                                                        b?C -6




     CSH/mg




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                                                                                                                          b?C -1




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      Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 7 of 48




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


PROPERTY OF THE PEOPLE, INC., et al., )
                                      )
          PLAINTIFFS                  ) Civil Action No. 1:17-cv-1193 (JEB)
     vs.                              )
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DEPARTMENT OF JUSTICE,
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          DEFENDANT                   )
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                               EXHIBIT 4
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                             Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 8 of 48
    F.D-350 (Rev. S.:S-81)



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      Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 9 of 48




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


PROPERTY OF THE PEOPLE, INC., et al., )
                                      )
          PLAINTIFFS                  ) Civil Action No. 1:17-cv-1193 (JEB)
     vs.                              )
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DEPARTMENT OF JUSTICE,
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          DEFENDANT                   )
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                               EXHIBIT 5
                  Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 10 of 48

                                              ---- Working Copy----                                            Page        1



    10/19/00

                                                            I
                                                           date of birth!
r------'---,l_s_o_c_i_a_l_S_e_c_u_r_1_·t_y_A_c_c_o_u_n_t__JNumber I        I office
                                                                                                                      b6 -6
                                                                                                                      b7C -6
   telephone number!                                  !was interviewed regarding
  promotions at the Attorney General's Office, State of Louisiana.
  After being advised of the interviewing agent's identity,!
  provided the following information.                                           .__ ____.

              After!                        !was hired asl
                               jstate of Louisiana, in March, 1997,I          !began
                                                                                                     I                b6 -6
                                                                                                                      b7C -6
~t_o_r_e_o_r_~_a_n_i_'_z_e_p_e_r....,sonnel within the office. ~!---~!advised it was
             I intent to take total control over every decision.
~----'
          I     lstated prior to         hirin   the Division
    Directors reported to the ~---------------r-:--~_.but                                                              b6 -6
    they also had access to the Attorney General . .____,,,,_-implemented                                              b7C -6
    a new management structure creating three (3) or four (4) new
    Deputy Director positions. With the creation of these positions,
    the Div ision Directors now report to the Deputy Directors who in
    turn report to!      ] The Division Directors' access to the
    Attorney General has essentially been eliminated.
         The individuals selected to become Deputy Directors
    were!                             1 (phonetic),L                                                   and            b6 -5,-6
I                          l(phonetid . j         ja ...d,...v....i_s_e"""d....,..t.,,..h_e_s_e_ ____,                b7C -5,-6
    1na1v1auals were promo                  f      role the                                la ed during
    the investigation of                           went to                                               and
    attempted to have            rosecuted
    of the investigation,                       contro e
    and public issues . ....:-----------------'
                                      was also promoted
I          land currently reports tol                                           I




    ------ -- ---------- - --------------------------------------------------------b7A                                            -1
    Case ID      :.___I_ _ _ ____.I
                                                                                                                People-1556
              Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 11 of 48

                                   ---- Working Copy----                           Page         1


    12/6/99

                                          date of birthl                    I              b6 -5,-6
I             I place
                    of birth Louisiana, was interviewed reqarding the                      b7C -5,-6

I   15th riverboat license. Also present was!
                    lstate of Louisiana Depart_m_e_n_t_o
                                                       ___
                                                                  T                I
                                                         f_J_u_s_t~i~c-e-,-3-3__0_ _
    Florida Street, ~uite 500. Baton Rouge. Louisiana 70801,
    telephone number!                       !was advised of the
    identities of the interviewing agents and the purpose of the
    interview.   I    !furnished the following information:
      ____!stated she is an attorney at the Louisiana                                           b6 -6
 Attorney General's office and has been employed by the Attorney                                b7C -6
 General's office since April 1994. Sometime in 1996, the
 Louisiana Gaming Control Board decided to establish applicant
 procedures regarding riverboat gaming licenses. As a result of
  the applicant procedures being established~       !got involved
 with the 15th riverboat selection process.7           !role in the
  selection pr~ce:s consisted of following instructions given to
 her byl       ~ ~               !stated initially when the 15th
  riverboat se ec ion process started!        !had a meeting with all
  riverboat gaming attorneys at the Attorney General's office.
I        l~ppointed!             !in charge of establishins
 procedures regarding the 15th riverboat license. I        }took
  direct instructions from!                  !stated teams were
  formed with the Louisiana State Police in order to work on
  specific applicants for the 15th riverboat license. I        !was
  assigned the HOLLYWOOD DEBARTOLO application, the HORSESHOE
  application and the HARRAH'S Red River application.

              !stated on her team was!         !(Last Name Unknown)                             b6 -6
  LNU ~f_r_o_m_L-ouisiana Revenue and Taxation, State Trooper!                                  b7C -6
I           !and a State Police Auditor the name she could_n_o_t_ _
  remember. I          !stated HOLLYWOOD DEBARTOLO's application was
  filed in August 1996. I                          !her rqle in the
  application process was to serve!                      jto the
    Louisiana 1amin;IEnforcement Division or to Louisiana State
    Troopers.        was not to have a direct role in the application
    process. 1      would participate in some of the interviewsr-1-·--~
    especially if the interviewee wanted an attorney present. !                    I
    would not actively investigate the applicant just give legal
    advice. Any correspondence written byl       I was prepared on
    Louisiana Attorney General letterhead.         I
                                                  !stated sometimes a
    State Trooper would giver her information and she would put that
    information on the Attorney General's letterhead.

       _____.!remembered one legal issue regarding the                                          b6 -6
                                                                                                b7C -6
  HOLLYWOOD DEBARTOLO project was whether or not certain doc1Fments
  would remain confidential. I       !responded to a letter by_L_ __
I         !which provided the Attorney General considered the
  documents jp question confidential. At thiy timel
  the!         !letter and a letter written byl.__         ________
                                                           lwas shfwn
                                                                ____.

    ------------------------                                                                    b7A -1
    Case ID : ~I_________________________I

                                                                                       People-1557
      Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 12 of 48




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


PROPERTY OF THE PEOPLE, INC., et al., )
                                      )
          PLAINTIFFS                  ) Civil Action No. 1:17-cv-1193 (JEB)
     vs.                              )
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                                      )
DEPARTMENT OF JUSTICE,
                                      )
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          DEFENDANT                   )
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                               EXHIBIT 6
   Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 13 of 48

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       NK88A-66770 C                      3242                                                                  b7C -6


       NK192B-78307                          20
       NK166E-76048 A                         1
       NK192B-78307                           8

       NKl92B-78307                           9
       NK192B-78307                          10


       NKl92B-78307                          11

       NK192B-78307                          11

       NK166E - 75675 E                       2

       NK88A-66770 C                      906A
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ST"' NEWARK "' NJ'''-
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       NK88A-74000 E                    1117A


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       NK88A-74000 E                    1422A

TRUMP PLAZA HOTEL
                                                                                                                b7A -1

                                                                                          - "' RESIDENCE         b6 -6
                                                                                                                b7C -6
                                                                                     VIOCRIM DATABASE
                                                                                    NAME/ IDENT
LISTING
PAGE 197
NAM-IDENT......... .. .. .. . . . .                    FST-NAM... .. .. .   MID-NAM .. .
ADDRESS. . . . . . . . . . . . . . . . . . . . . . . . . . . A/ C    PHONE. . .   MISC ........ .. .
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                                                                                                       People-3862
      Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 14 of 48




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


PROPERTY OF THE PEOPLE, INC., et al., )
                                      )
          PLAINTIFFS                  ) Civil Action No. 1:17-cv-1193 (JEB)
     vs.                              )
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                                      )
DEPARTMENT OF JUSTICE,
                                      )
                                      )
          DEFENDANT                   )
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                               EXHIBIT 7
                                    •                                         •
                       Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 15 of 48

~- (Rev. 01-31-2003)

                           FEDERAL BUREAU OF INVESTIGATION


             Precedence:         ROUTINE                                         Date:       12/22/2005

             To:       Philadelphia
             From:       Philadelphia
                            Harrisbu                                 (HRA)
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                                                                                                                          b7C -1
             Approved

             Drafted

   1!        Case ID #: 194A-PH-C9951$

             Title:       CHANGED
                          PENNSYLVANIA GAMiij'- COMMISSION;
                          POSSIBLE CORRu7rbN OF STATE OFFICIALS

                              To nrovide.results of searrhes conducted regarding
           I S:ousis;
              _                                                     _and advise of a title
                                                                                                                          b6 -5,-6
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             c ange.
             Previous Title:  Title marked 11 Changed 11 to Pennsylvania Gaming
             Commission; Possible Corruption of State Officials. Title
             previously carried as 11 Pennsylvania Gambling Commission; Possible
             Corruption of State Officials.n
                                                                                                                     b6 -5,-6
           I Details;       )~earches in ACS regarding!
                              were met with the foll owi"'"n_g__r_e_s_u"""l,...t_s_.-
                                                               ...T...h_e_d.,..o_c_u_m_e_n_t_                        b7C -5,-6

             dated 1/10/05, is the interview of_l_ _ _ ___.!regarding vandalism
             of her vehicles and whether the damage was caused randomly or due

                                                                                                                      b6 -5,-6
                     The document dated 11/22/04, is an interview ofl
          .____! The interview discusses the Gaming Control Board an~d--h-e-r~                                        b7C -5,-6
           position there as well as letters concerning ~ v i d e o Poker
           and Nat's Gaming which were written in 1997. L__Jadvised she
           was going to look into the letters and re-contact the
           interviewing agents.
                       The document dated 9/9/04, discusses information
             provided by the United States Attorney 1 s Office Eastern District
             of Louisiana. The information was based on questt·:;~ble bujiness b6 -5,-6
             activities of!                          I
                                         a local businessman. _          _was
             referenced in this EC regarding her associ~tion wi
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                               Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 16 of 48
    y                                                  •                   •.
v         To:                  Philadelphia From: Philadelphia
          Re:                  194A-PH-C99515, 12/22/2005



                    The document dated 10/19/00, is regarding                                   at b 6 _ 51 _ 6
          the Attorney Generals 1 s Office, State of~L-o
                                                     .--- ___
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          mentioned regarding her promotion to the

         _ _ _ _ ____.......,__........~ument dated 12/6/99, is an interview of
                                         egarding the 15th riverboat license. c=::Jis                  b6 -5,-6
                          at the Louisiana Attorney General's Office. L_J                              b7C -5,-6
        t-----.~w_a__
                    s_p_r~esent at the interview.

                    Searches on the internet were met with the following
          results. An article on the post-gazette.com website dated
          Friday, December 2, 2005, advised thatl                I was                                  b6 -5,-6
                                                                                                        b7C -5,-6



                                                   _____
        ..........................,..,..............
                            IAn article in the Thoroughbredtimes.com dated
          11/30/2005 1s regarding this same matter.

                    The following articles discuss other matters involving
          the Pennsylvania Gaming Board to include the hiring of executives
          and officials; Centredaily.com dated Saturday, August 20, 2005,
          post-gazette.com dated Thursday, August 18, 2005, and philly.corn
          daily news article dated, Friday, July 8, 2005.


          ♦♦




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     (::apitol Notes:   1:17-cv-01193-JEB
                      Some                   Document
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                                                                  too 10/19/20 Page 17 of 48Page 1 of 4
I.




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     post-gazet0m                     Local News                                                                      Monda

      Local News
       Latest News                Capitol Notes: Some gaming, some
       Previous Articles
       Neighborhoods              BlackBerries and Santa, too
       News Obituaries
       Education                  Friday, December 02, 2005
       Weather
       Elections
       Photo Journal              By Tracie Mauriello and Tom Barnes, Post-Gazette Harrisburg Bureau
       Transportation
       Events Calendar
       The Morning File
       Night Light
                                  Welcome to Capitol Notes, a bite-size summary, available only on-line,
                                  of news happening under the green dome at your state Capitol.
                                                                                                                     3MI
       Capitol Notes
       Columnists                 GAMING WOES
       Consumer                   The Pennsylvania Gaming Control Board is behind schedule for issuing
       Special Reports
       First Amendment
                                  licenses for up to seven racetrack/casinos. The original goal of issuing
                                  them by February has slipped to June at the earliest.
         - ~l
     Expanded Commercial Part of the reason is a lawsuit filed against the July 2004 slots law,
      Real Estate Listings which wasn't dismissed by the state Supreme Court until late June.
                                                                                                                      Click t
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     VJeathe~
        CLICK HERE
                                  Another holdup has been a dispute over new companies called slots
                                  distributors/suppliers, which will .b e middlemen who buy slot machines
                                  from manufacturers and sell them to the casinos. Board members can't
                                  agree on procedures to license the suppliers.                                      post-g
     f-"!!:!:-!~~M~~.,M-J.,_""°   While board members had foreseen some of the delays, what they didn't
                                  foresee was problems involving their own staff members.
        post-gazette.com
                                  One of the board's lawyers, Michael Schwoyer, was arrested this
        Headlines                 summer after being accused of scuffling with police outside a bar in
         by E-mail
                                  downtown Harrisburg. He eventually pleaded no contest to disorderly
                                  conduct and public drunkenness and was fined $500. He still works for
                                  the board.

                                  Then in October, another lawyer for the gaming board, LaMonte
                                  Williams, was cited by Harrisburg police for simple assault and public
                                  intoxication after a fight in a Downtown Harrisburg bar. He was accused
                                  of biting a bartender on the arm, charges that are still pending.

                                  Then this week, the board's top executive, Anne LaCour Neeb, formerly
                                  ofNew Orleans, was accused by Louisiana officials of falsifying her
                                  attendance records and collecting pay for hours she didn't work while
                                  she was director of Louisiana's gambling board.


                                                                                                                     People-1540
     http://www.post-gazette.com/pg/05336/615700.-stm                                                            12/12/2005
               Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 18 of 48
j.
     C::apitol Notes: Some gaming, some BlackBerries and Santa, too            Page 2 of 4


                        Mrs. Neeb has strongly denied doing anything wrong, saying "there is
                        no truth to these allegations. They are completely false." She claimed..the
                        allegations were retribution by Louisiana officials for her telling the FBI
                        about possible gambling corruption in that state.

                        Except for five days in late August when Hurricane Katrina made it
                        illegal for anyone in New Orleans to go to work, Mrs. Neeb said, "I
                        worked all of the hours I was paid for and accounted for them
                        completely."

                        Gaming board spokesman Nick Hays has declined to comment about the
                        personnel problems.

                        The gaming board has hired 90 people so far for its staff and expects to
                        reach as many as 200. Let's hope that no others get their names into
                        newspapers for the wrong reasons.

                        BLACKBERRIES
                        There's one surefire way for newcomers to identify the important people
                        in the Capitol's beehive of politicians, lobbyists,joumalists, lawyers,
                        judges and onlookers. Just look for the BlackBerries.

                        For the technophobes out there -- including a certain co-author of this
                        column -- a BlackBerry is an all-in-one cell phone, organizer, pager,
                        Internet browser, instant messenger and e-mail receiver. No Harrisburg
                        mover-and-shaker wants to be seen without one.

                        At some legislative hearings, it seems like everybody is checking their
                        messages on their BlackBerries rather than listening to what legislators
                        are saying.

                        Needless to say, Capitol Notes won't be moving or shaking anytime
                        soon.

                        A HOUSE FULL OF DOUBTING THOMASES
                        Aiming to produce a son who will one day help run Pennsylvania?
                        Here's a tip: Name him Thomas.

                        Twelve of the 203 state House members share that first name. If you
                        count Rep. Curtis W. Thomas, there are 13 Thomases running your state
                        House.

                        The Senate doesn't have a single Thomas, but six of its 50 members,
                        including President Pro Tempore Jubelirer, are named Robert.

                        REMEMBERING FORMER SECRETARY TUCKER
                        Former Secretary of State C. DeLores Tucker, who died last month at
                        age 78, will long be remembered for her tenure under the Capitol's dome
                        and for her tireless work on civil rights issues.



                                                                                                        People-1541
     http://www.post-gazette.com/pg/05336/61570&.stm                                                  12/12/2005
          Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 19 of 48
fapitol Notes: Some gaming, some BlackBerries and Santa, too               Page 3 of 4


                   The Senate·will honor her memory Monday with a resolution introduced
                   by Sen. Le.Anna M. Washington, D-Philadelphia.

                   "Dr. Tucker was a remarkable woman and a great American," Ms.
                   Washington said.

                   Dr. Tucker was the first black woman to serve as Pennsylvania's
                   secretary of state. She served from 1971 to 1977.

                   The Philadelphia native was a civil rights activist who had joined the
                   Rev. Martin Luther King in peaceful demonstrations throughout the
                   country. In later years, she spoke out against violent and sexually
                   explicit rap lyrics.

                   "Dr. Tucker lead such an exceptional, admirable life," Ms. Washington
                   said.

                   SANTA GETS RECOGNITION, TOO
                   Legislators from both sides of the aisle are getting into the Christmas
                   spirit with a House resolution recognizing Pennsylvania's own jolly old
                   fellow.

                   It seems that the bearded elf who has been slipping down chimneys for
                   years may have an alter ego in Franklin D. Linn Sr.

                   Mr. Linn, aka St. Nick, has been donning his red suit and distributing
                   presents and goodwill around Greater Harrisburg since 1955 when he
                   was just 14 and entertained classmates at Swatara Junior High School.

                   Now, he regularly appears at local malls and occasionally at Capitol
                   holiday events -- unless the legislators have been naughty. No word yet
                   on whether he'll show up this year.

                   Mr. Linn has served 30 years as a commissioner for Lower Swatara
                   Township and works for House Speaker John Perzel as a specialist in
                   intergovernmental affairs. He saves his vacation days for November and
                   December so he can appear at Colonial Park Mall Wednesdays through
                   Saturdays.

                   "If you want to be Santa Claus, you've got to put your heart and soul into
                   it," he said.

                   He and Mrs. Claus (the former Paulette Houser) have three elves and
                   four grand-elves.


                   (Tracie Mauriello can be reached at tmauriello@post-gazette.com or
                   717-787-2141. Tom Barnes can be reached at tbarnes@post-       '
                   gazette.com or 717-781-4254.)



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http://www.post-gazette.com/pg/05336/615700.stm                                                 12/12/2005
                Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 20 of 48Page 4 of 4
"J,
      ...Capitol Notes: Some gaming, some BlackBerries and Santa, too

                                                                _PAID ADVERTISING
                              Jennings Slots Wanted                        30 Free Casino Games
                              Top National Buyer Of Slot Machines Get An   Online-Casino games for fun Slots, roulette,
                              Immediate Offer Today                        poker, blackjack
                              Ads by Gooooooqle                                                    Advertise on this site




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      http://www.post-gazette.com/pg/05336/615700.stm                                                                       12/12/2005
      Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 21 of 48




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


PROPERTY OF THE PEOPLE, INC., et al., )
                                      )
          PLAINTIFFS                  ) Civil Action No. 1:17-cv-1193 (JEB)
     vs.                              )
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DEPARTMENT OF JUSTICE,
                                      )
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          DEFENDANT                   )
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                               EXHIBIT 8
                Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 22 of 48
                                        lA Envelope
    Case ID: 194A-NK-88595
     NK        28 : PHOTOS OF _TORCHIERE TAKEN AT GREAT GATSBY'S 1/29/97
     NK        29 : PAGE FROM GREAT GATSBY'S ADVERTISEMENT INDICATING TORCHIERES
     NK        30 :    COPIES OF CHECKS DEPOSIT SLIPS   AND DEPOSIT ITEMS FOR ACCOUNT
                  :    FOR THE PERIOD 9/27/95 THROUGH   5/9/96
                  :    COPIES OF CHECKS DEPOSIT SLIPS   AND DEPOSIT ITEMS FOR ACCOUNT 1
                  :    FOR THE PERIOD 12/7/95 THROUGH   11/13/96                      l
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l NK
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              34 l COPIES OF SIGNATURE CARD, CORPORATE BANKING RESOLUTIONS, AND :
l                  : BANK STATEMENTS FOR ACCT #2704856 IN THE NAME OF OCEAN           l
l                  l ATLANTIC INC FOR THE PERIOD 1/22/96 THROUGH 3/31/97              l
     NK        35 l CCTV VIDEO ONLY SURVEILLANCE LOG
     NK        36 : COPIES OF P]POSIT SLIPS, DEPOSIT ITEMS AND CHECKS FROM ACCT
                  :I             IN THE NAME OF I               !ATTORNEY BUSINESS             b6 -2
                     ACCOUNT FOR THE PERIOD 2/29/96THRU 11/27/96                               b7C -2

    NK        37       COPIES OF BANK STATEMENTS FOR ACCT #2255074132 IN THE NAME
                       OF OCEAN ATLANTIC INC FOR THE PERIOD 3/9/95 THROUGH 4/30/96
    NK        38       COPIES OF DEPOSIT ITEMS AND CHECKS FROM ACCOUNT #2704856 IN
                       THE NAME OF OCEAN ATLANTIC INC FOR THE PERIOD 1/22/96 THRU
                       3/27/97
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     NK        39   ORIGINAL NOTES RE INTERVIEW OFI          !(PROTECT IDENTITY)               b7D -6
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    NK        40       COPY OF COMPLAINT IN US DISTRICT COURT, SOUTHERN DISTRICT OF   1
                        NY 97CIV6693 IN THE MATTER OF MIRAGE RESORTS INC, PLAINTIFF
                        VS DONALD TRUMP, TRUMP HOTEL & CASINO, RESORTS, & HILTON
                   1   HOTELS CORPORATION, DEFENDANTS
: NK          41       FORENSIC WORKSHEET FOR SIREX CPU DX9350949
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: NK          42       PHYSICAL SURVEILLANCE LOG DATED_!_ _____,
l NK          43       COPY OF ENVELOPr & 11/3/94 LETTER FROM 1                                b6 -6
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I                      T O ! R E : RESOLUTION #841 DEALING WIIH NEW                            b7C -6
I
I                      BASEBALL STATIUM IN ATLANTIC CITY, NJ
l NK          44       NON-PERTINENT INFORMATION FROM CORPORATION CHECK ON OASIS,
I
I                      INC, ATLANTIC CITY, NJ
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      Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 23 of 48




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


PROPERTY OF THE PEOPLE, INC., et al., )
                                      )
          PLAINTIFFS                  ) Civil Action No. 1:17-cv-1193 (JEB)
     vs.                              )
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DEPARTMENT OF JUSTICE,
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          DEFENDANT                   )
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                               EXHIBIT 9
                        Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 24 of 48

FD-.302 (Rev. 10.-6-95)


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      Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 25 of 48




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


PROPERTY OF THE PEOPLE, INC., et al., )
                                      )
          PLAINTIFFS                  ) Civil Action No. 1:17-cv-1193 (JEB)
     vs.                              )
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DEPARTMENT OF JUSTICE,
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          DEFENDANT                   )
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                              EXHIBIT 10
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                          Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 26 of 48


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      Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 27 of 48




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


PROPERTY OF THE PEOPLE, INC., et al., )
                                      )
          PLAINTIFFS                  ) Civil Action No. 1:17-cv-1193 (JEB)
     vs.                              )
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DEPARTMENT OF JUSTICE,
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          DEFENDANT                   )
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Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 28 of 48




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                                       UNIDENTIFIABLE FEMALE(S) (UF)
                                       PHONETIC (PH)

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              Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 30 of 48




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                                                  UNIDENTIFIABLE FEMALE(S) (UF)
                                                  PHONETIC (PH)




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          ABBREVIATIONS:               UNINTELLIGIBLE (UI)
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                                       (UM,   UM-1, UM-2)
                                       UNIDENTIFIABLE FEMALE(S)            (UF)
                                       PHONETIC (PH)




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      Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 33 of 48




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


PROPERTY OF THE PEOPLE, INC., et al., )
                                      )
          PLAINTIFFS                  ) Civil Action No. 1:17-cv-1193 (JEB)
     vs.                              )
                                      )
                                      )
DEPARTMENT OF JUSTICE,
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          DEFENDANT                   )
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                              EXHIBIT 12
                Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 34 of 48




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FD-340 (Rev. 7-29·92)


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       tioil: □ Original notes re interview of.
Descrlp_                                                                         I
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      Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 35 of 48




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


PROPERTY OF THE PEOPLE, INC., et al., )
                                      )
          PLAINTIFFS                  ) Civil Action No. 1:17-cv-1193 (JEB)
     vs.                              )
                                      )
                                      )
DEPARTMENT OF JUSTICE,
                                      )
                                      )
          DEFENDANT                   )
                                      )




                              EXHIBIT 13
                Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 36 of 48




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                      C (1J7-            }1                            /22/81

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     ·n
           tie C                                                  I
                     Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 37 of 48




          N'f (137-- '9 967)


          inadvertently. Ag nts dvis d RUMP that~           hauld c re -dlly
          think over his decision to build in Atlantic City, and carefully
          p•r e~re not only met.hods of secur .ng employe,es' honesty, buc also
          coroor -              integrity..   'l'IUJMP advis,ecl tha   he wished    o cooper ta
          with the FBI J    he d ,d decide to bgild a casino. The Agen s tha ,
          wer pres nt ~dvis ,e d lthough th y w re not J.n    posi·t io,n ·t o .k
          for th y-::1r, or to guarantee anything, that i.f he i fact wished
          to bui- d in               tl ntic: 1C ity and dec'd d firmly on thi       matt r, thy
          would be glad to re ...discuss the s tuation without making any
                                                               1



          ,c o.mnid. t   JD   nt ,


                                                                                                     _.es
                                                                                                       uence
                                                                                             u s-
                                                                                             :'i I ' th -
                                                                                             to
                                                                       .                     ith
           -        D TROMP - nd 'ROB,ERT T'RUHP dlurin9 which t.im            they ad·v i     a   tha,t
          ·t ·h ey felt confident that they " ished to build .a cas."no in Atlantic
          City. TROMP a vised writel', who w           in the pc·esenee o the C e
                enc, th t. h , (TRUMP), w'shed, t:o, provid full di clo5'U te dl.lt"ing
          the construe _ion pha e of this casino and . .subs,e guently, once the
          c: s · no w     ope r t.ional. TRIJHP ta ·    "n o d _:r .to how h t h w s
          willing to _f'ully c:oope1:at      itll th    I, h s119geste~ .·~ hat they    .
          use und ;r,c ov I' Agents wi hin tlhe c:     no   ,' rit r   dvi e HCMP b ·
          he could not speak for the l"BI , and he could . not · .ak,e ·.any . agreements ·
          or pro: Jse a p r Bur u policy in th! m tt r. · TRUMP ,sk d . · ·.
             riter his personal opinion rega.! 'din9 whether · he : should build in .. . ·
          Atla.nti ,c City. W:c i ter advised 'TROMP, on a·pe_rsono. 1 _V'el, not·. as ..
          a .ma ter of Bureau policy, that h 11 [wr i ter]i , thou19ht there were
          easi l' (l;l'ays that TRUMP could invest h • s oney.. TROMP ,a, _, keil writer
          if h cculd att mpl to · n·t rcduc:e him to ,p p r:opr iat ,e offici ls
                                                                           1


          ln, the E''B I with whom be ,c ould discuss · this _att.er.. ' riter advised
          TROMP n        ould research hL m tte, f urth r nd r -cont e him.




                                                         2 -




I   • 4
            Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 38 of 48




NY (13 7-19967)



            At this point, writer ird tia ted s ·t ,e ps with the Newer k
Office and ·the At - antic City Resident Ageney to begin planning
~ n undercov,e r proposal Iconc,e rning the proposed TRUMP casino.    This
proposal, now "n thoroughly finished state, was to be d.iscussed
with TRUMP by the SACS, of the New Yo I k Off ice and th.e Newark Office
on 10/1/81.
              On 9/21/81, wciter returned the call of DONALD CfRUMP
and su bs,e quen l:.ly t.al ked to DONALD an,d ROBERT TRUMP via· telephone ..
T·ROMP advised writer that he t.cav,e led ·t o .~rencon, New Jersey on
Wednesday of the previous week and had ~et with DGE official,
MICKEY BROWN..      TRUMP advised that BROWN to,l d him ·t ha. t he had
• no pr:oblem• '9'i th TRUMP' s bac.k ground .a nd expected him ta• be ·
licemtecl "n th,e immed ia.t e future.. BROWN, accord t og to T'RUHP, ,fur,: ber
 stated that he had one problem and that involved captioned souree                 2
 TROMP st.ated that he told BROWN that source was the firs.t individual
 to preach •honesty"' to him regard in-g his de·aling·s in Atlantic City .•
'TRUMP advised that he also told BRO'h"'N that smu.r r:e had introduced
 him to two Agents of the PSI, (one of the na~es ~iven was that .of
wr i te.r l • T.RUMP stated that. BROWN told him_ th.at source was not
,c an 1 · w 2 t    DGE r •e ard 1 n .- sorne ues tl.ons, and that th 1s m..1 ht · t a.w
   ut ·t e nvest..1 at10n. TRUMP adv sea w.t te .r that be told BROWN
of ~ource•s r!! at!?nshfp       w1:~        the FijI I only ~io , the sense that !it
JBig t II n lp t .h 1 ngs 1n ·t e bu , and prevent future problems.. TROMP
s: ta ted ·t h,a.t he t .a lked with · BROWN about n,0,th in of         eubstan ti ve ·
nat □ re, pa:rticula.r ly involving any proposed . undercover ·a.ct.-v1ty . .
                     ■   •                       •        ..


               n the same da        writer and Case A~ent . alked with
 atel.Y a month ana ·a half ago.. DGE asked for documentation rega.r ing
 ource 1 s business activities~ Source· aavised that his attorney had
 nadvertently not sent DGE the appropriate documents, however,
 ould do so now. Sour~e further advised that DGE officials asked


                                                                  ..


                                       -   3 -
            Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 39 of 48




 NY    (137-19967)


 him abou-t: his relationship with the FBI based on a s1tack of
 newspape.c clippings whic:b DGE officials had acce .s s to. source
,d eclined to answer this qu st ion.
               It should be emphasized that TROMP ls not aw.are
 -on taic ·t i ng A gen ts are acquaintances, however, write I and Cas,e
Agent have repeatedly told TROMP that they weie not referenGes
 for 1source 1and cannot soeak fot sources           us1ness ea _n s. The
TROMPS have advised wr itet and Case Agent th.a.t ou:rce s nvolve ·,
   s a labor consultant. to their firm         '!'hey are aware that this is a
very r ,o ug·  us 1ne ss an   t - at source knows -people.. some of whom ·
m,a y be unsavory by the simple nature of the business. On
          , scarce con ac .e                     o       a        - .s reaues
  ,e fote source C'OUld ,e laborate on the matter of h,is call, BROWN
  ola him that he, (BROWN) , was attemptin,g to talk wlth the
  ewa:r · D vis on o, - t e FBI to ·v er1 y s,ome· conversat on (sl t at
TRUMP had had with (SRON'NJi •       source· a vise BROWN t at _ e was ca 1ng
                                                              I

regarding ·a different matter an           e question o wet er or not e
was a source of t.he FBI siarcly did net come up,.. · Soutce tcld BRQWN
he was calling regarding a different matt~r and that his attorney
had inadvertently not se,n t appropriate business a,o cument.ation to B
Source sl::ated t.ha t he would do so now.        According ·t o source,      ·
be then asked :BROWN, 11 is the.r::e anything ·else. • 1, ·t:o which BROHN
responded, ~ no" • On 9 /21/B'l, . BROWN called the SAC, Newark II i vis"io ,
                                1



and inqui.ced _regarding source .. SAC Newark .advised BROWN . that
he would get 'back t. 0 h.im.. On 9/22/Sl, SAC; Hewa.rk, · ,c alled writer
                            1


regarding ~his ccnversation with BROHN and the matter cf his
fu~ure i~s _nse.                                   ·
           Jt should be emphasized that TRUMP ,a d'vised writer he
                                                                  .
did not t:al,k with jBROWN I about anything conce~ning .=t=h:.=e'---£,-:=-=~,.....,........___,
                                                               :=
      ercover ac~_v t           It should further be emphasized
      not aware        the :matte:,; o - t , 1s propo·s ·e , activity




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      Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 40 of 48




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


PROPERTY OF THE PEOPLE, INC., et al., )
                                      )
          PLAINTIFFS                  ) Civil Action No. 1:17-cv-1193 (JEB)
     vs.                              )
                                      )
                                      )
DEPARTMENT OF JUSTICE,
                                      )
                                      )
          DEFENDANT                   )
                                      )




                             EXHIBIT 145
  4,.        I       )       •                          Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 41 of 48
. FD-515 (Rev. 7-19-91)                                                                   ·•                                                                                                                                                                                                                                                                                              b6 -1, -5, -7
  Accomplishment Repo;t                                                                                                                                                                                                                                                                                                                                                                . b7C -1, -5, -7
                                                                                                                                                                                                                                    y1
                                                                                                                                                                                                                                     ....- - - - - - - - - -
{Submit within 30 days from date of accompiishl])ent)                                                                                                                                                                                                                                                                                                                                    b7E -5
TO: Director, FBI                                                                                                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                                                                                                               Date
                                                                                                                                                                                                                                                                                                                                                                                                4/17/92
                                                                                                                                                                    Bureau File Number
 FROM: SAC,                                     MIAMI
 SrJECT,                                                                                                                                                       29B-MM-522}l\7                                                                                                         Investigative Assistance or Technique Used


                                                                                                                              I-
                                                                                                                                                                                                                                         Rate each Investigative Assistance or Technique used in conne~ion with the accomplishment
                                                                                                                                                               Field Office File Number                                                  being claimed.
                                                                                                                                                                                                                                                                  1 = Used, but did not help       3 = Helped, substantially
                                                  !ET AL                                                                                                      WCC-1                                                                                               2 Helped, but only minimally      =
                                                                                                                                                                                                                                                                                                   4 Absolutely essential                                                    =
        FIF                                                                                                                                                       Squad or RA Number                                             1. AcctgTech                                              a.     Eng. Sect.                     Rabng             15. Photographoc                                          22.
                                                                                                                                                                                                                                                                                                                                                                                                                        f~~~e
                                                                                                                                                                                                                                                                         ~      ang                                                                                                         R~                                                      Rating
                                                                                                                                                                                                                                    Assistance                                                    Tape Exams                                           Coverage
          (00: MM)
                                                                                                                                                        I                                                                        2.Airaatt
                                                                                                                                                                                                                                      Assistance
                                                                                                                                                                                                                                                                                           9. ~                                                    16. Polygraph
                                                                                                                                                                                                                                                                                                                                                           Assistance
                                                                                                                                                                                                                                                                                                                                                                                                             23.        UCO
                                                                                                                                                                                                                                                                                                                                                                                                                        Groopl
                                                                                                                                                            Aaenl's Social Securitv No.                                          3. Computer                                             10. ldentOiv                                              17. Search Warrants                                       24.        UCO
                                                                                                                                                                                                                                      Assistance                                                  Assistance                                                Executed                                                    Group II
                                                                                                                                                                                                                                 .&. ~~~~I                                               11. Informant                                             18. ShowMoney                                            25.         UCO
                                                                                                                                                                                                                                                                                                  Information                                               Usage                                                       Other
                                                                                                                                                                                                                                 5. ELSUR                                                12. lab Div                                               19. Surved Sqd                                            26.
                                                                                                                                                                                                                                    FISC                                                                                                                                                                                NCAVCI
                                                                                                                                                                                                                                                                                                  Exams                                                (SOG)Ass1                                                        VI.CAP
                                                                                                                                                                                                                                  6. ELSUR                                               13. u,bOiv                                                20. SWAT Tealn                                            27.        V,sual Jnves1 •
                                                                                                                                                      [J x u case ,nvofves                                                           TltSelll                                                                                                          Act,on
                                                                                                                                                               corruption of a public                                                                                                             Field Support                                                                                                         Analysis (VIA)
                                                                                                                                                               official {Federal, State or
                                                                                                                                                               Local).
                                                                                                                                                                                                                                 7.}::l.i~n                                              14. Pen
                                                                                                                                                                                                                                                                                             Registers
                                                                                                                                                                                                                                                                                                                                                   21 .    Tech. Ag1. or
                                                                                                                                                                                                                                                                                                                                                           Teet, Equ;p


  A. Preliminary Judicial Process i-_:C:::o::;rii::iP:::la::;inc::IS::._i.__.:;ln.:::lo:::r:::.m::::a.:::tio:::.n::s-1-...:l::;nd::;iC1:::m=en.:::ts~t.:D:.:·c:cR:.:ec::cco:::.v:..;e:.:;ri.;;.e:::,s,'-'R-'-'e"'s-"tit:.:u:.:;1i.;;.on"'s:c:,-=o.:..r.:..Po;:;;l;.;;e;.;.nl"'ia:;;.l-=E.;;.corn"'o:.:;m;.;.;i.::.c-=L.::.oss=P-'re.::.v.;...e:;;.n;.;.ted={"-P-=E-=L.c..P).__"T""--'{'-Ex-'p'-lrai_n..;;v.;;.al;.;;u.;cat;;;.io
                                                                                                                                                                                                                                                                                                                                                                                                                              :;.:n.:..i;.;;n..:.re.:.;m=ari<=s)'---l
        (Number of subjects)                                                                                                                                                          Properly                                                                                                                                                                               PELP
                                                                                                                                 1                                                     Type                                        Recoveries                                                                    Restitutions                                                Type                           Potential Economic
                                                                                                                                                                                                                                                                                                                                                                                                            Loss Prevented
                                                                                                                                                                                       Code·                                                                                                                                                                                 Code·
  B. Arrests, Locates, Summonses or Subpoenas Served {No. of Subjects)                                                                                                                                      $                                                                              s 2,uuu.uu                                                                                            $
                             SubjeCI Prionty·
                       '----~-B-.--c-c--< Subpoenas                                                                                                                                                         $                                                                              $                                                                                                     $
                                                l--"A'--+--=---+---=--~SeNed,_ _ _ _ _ _ l - - - +$
                                                                                                  =-----------,~$---==------f----,~$,----------1
  FBI Arrests -
                                                                          Criminal
  FBI Locates -                                 1 - - - + - - - - + = - ~ Summons _ _ _ __
                                                                                                                                                                                         E. Civil Matters                                                                                                   Government Defendant                                                                  Government Plaintiff
  Local Arrests -                                                                                                                                                                                                                                Civil Suits
                                                ' - - - - ' - - = - ' - - - ~ Local Crim.                                                                                                RICO -civil                                            Amount of Suit                            $                                                                                      $
  FBI Subj. Resisted                                   ; Armed                Summons                                                                                                    Convictions
.i==.:;:;:::~=       ;;;;.:...:::.:::,:~=;;;....J.;= ::,:;;===I,                                                                                                                                                                                                                                                                                                                 $
  C. Release of Hostages or Children Located: {Number of Hostages or                                                                                                                                                                      Settlement of Award                             $
    Children Localed)                                                                                                                                                         Enter AFA Payment Here
                                                                               F. AdmlnistraUve sanctions
  Hostages Held By Terrorists:._ _ _ _ AII Other Hostage Situations:._ _ _ _ y._ _s_u_b.:.iect
                                                                                         __    1 _ _ _ _ _ _ _....,.._Su_b-'Ject
                                                                                                                            __   D_es_cn_·;...p1_io_n_Cod_e_•_-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-l
  Missing or Kidnaped Children Located;                                                                                                                                                0        Suspension                           O Debarment                           I Time Frame - Years:                                                             Mon!hs:                                                           0       Permanent
 G. Final Judicial Process:                                             Judicial DislriCI                                 SD
                                                                                                                            District
                                                                                                                                                     FL
                                                                                                                                                   State
                                                                                                                                                                                                                 2/J ~/92
                                                                                                                                                                                                        Conviction ofilretrial Div. Date
                                                                                                                                                                                                                                                                                       • LJJ G (92
                                                                                                                                                                                                                                                                                                             sfintence'Date
                                                                                                                                                                                                                                                                                                                                                                          No. of
                                                                                                                                                                                                                                                                                                                                                                         Subjects                    Acouitted                     Dismissed
          Subject 1                                                              I                                                                                           I                                                               Subject2                                                                    I                                                                                                 I                      b7E -5
  XJ        Felony                                           Conviction                                                                          Combined Sentence                                                                   0        Felony                                            Convictio{,                                                                        ,Combined Sentence
                                    1--~-----,--+-----....------,------l
   D        ~~~ior                         Tille                 See1ion                    Counts
                                                                                                                      In.Jail
                                                                                                                   Yrs.    Mos.
                                                                                                                                                          Suspended
                                                                                                                                                          Yrs.  Mos.
                                                                                                                                                                                                 Probation
                                                                                                                                                                                                Yrs.  Mos.                          [X~~ior·                                 TiUe                  Section                    Counts
                                                                                                                                                                                                                                                                                                                                                         In-Jail
                                                                                                                                                                                                                                                                                                                                                      Yrs.    Mos.
                                                                                                                                                                                                                                                                                                                                                                                         • Suspended
                                                                                                                                                                                                                                                                                                                                                                                           Yrs.  Mos.
                                                                                                                                                                                                                                                                                                                                                                                                                                    Probation
                                                                                                                                                                                                                                                                                                                                                                                                                                   Yrs.  Mos.

   □ ~~~~tion 18                                                       371                         1                            I6
                                     1---l-----ll---+----'--....l....---'---'----'----i D ~~~~~~~ 1---f-----+--+li""o-ta.:..I_.__2_5_...J...o_o_.J....._..!...L..::_
                                                                                                                                                                       I                       2             I                       D        ~~~~lion                   ·18                     480                               1                       .       14                                    I                         2
                                                                                                                                                                                                                                                                                                                                                                                                                                           _L_ _
                                                                                                                                                                                                                                                                                                                                                                                                                                                I               -1
   D       ~:.Ov~cJ1.~:;,n                                                                                      ~.::1s$               50. 00                                                                                                                                                                                                       Fines$                          •
  :::i;:J Plea                                                 Add consecutive senlences together.                                                                                                                                   12t    Plea                                                                                                  Add consecutive sentences together.
 L!:O=-li:.:.ri:::a:..I- - 1 - - - - t = - - = - j - = - - - j Enter longest single concurrent sentence.                                                                                                                         i-:O=--T.:..:r.::ia::..I- - 1 - - - - t - - = = - t - - - i                                                      Enter longest single concurrent sentence.
                                                               Do not add concurrent sentences together.                                                                                                                                     p t· I                                                                                               Do not add concurrent sentences together.
    0       b~:/t,      1on                                    Sentence 10 yrs.- 8 yrs susp. = 2 yrs. In-Jail.                                                                                                                       D D~l~ion                                                                                                    Sentence 10 yrs.- 8 yrs susp. = 2 yrs. In.Jail.
                                                                          Attach additional Jorms it reponing final judicial process on more lhan /Wo subjects. and submit a final disposition form (R-84) tor each subject.

  H. Identifying Data: For .every subject reported in Sections A. B. E. F, or G above, provide the following:                                                                                                                            Attach additional forms for more than four subjects.

                                                                         M,mn                                                                                                Date ol Birth                        I Race•              Sex                                          Place of birth !ii available)                                                    I        Social Securitv Number Iii av~iiable)

        PAULA ELIZABETH CASTELLANO,,                                                                                                                                                                                                                                                                                                                                                                                           b6 -5, -7
                                                                                                                                                                                                                                                                                                                                                                                                                               b7C
        EFRAIN CASTELLANOS
                                                                                                                                                                                                                  I                                I                                                                                                                 I
                                                                                                                                                                                                                  I                                I                                                                                                                 I
  Exolanation ol accomplishment i::laimed:

     b n 2/13/92, PAULA CASTELLANOS entered a plea of guilty to Count 1 of the
     ~ ndictment charging her with violation of T. 18, USC, 371, and EFRAIN
     CASTELLANOS entered a plea of guilty to a misdemeanor violation of T 18, USC,
     480. On 4/16/92, PAULA was sentenced to 6 months in home confipement,
     2 years probation, ordered to pay $1,000 restitution and $50 assessment.
     ~ FRAIN was sentenced to 4 months in home confinement, 2 yrs. prob~ion,
     b rdered to pay $1,000 restitution and assessed $25.                 (/A1 / -~     ,~
                                   ..!-.J, _ J ..._ _ J ~1 1 f ..,_.,,                                                                                                                                                                                                                                                                                                   rift
                                                                       Se    ~  'n 1 1 A-1JU
                                                                                                                                                                _;:n#J ~~                                                                                                       "T-l..o:                                               .~                      In
                                                                                                                                                                                                                                                                                                                                                               -
                                                                                                                                                                                                                                                                                                                                                                         ex IJ.-J)'14
                                                                                                                                                                                                                                                                                                                                                                          1w           .Wll
                                                                                                                                                                                                                                                                                                                                                                                                                   <----       .~~ '.---:
                                                                                                                                                                                                                                                                                                                                                                                                                                                        ✓.b'        '/
  ~Bureau              ,,,.-...
, 2 - Field Office   (,                        1 - 29B-MM-52247)                                                                                               (1                          66-418)
  -• See codes on reverse side.



                                                                                                                                                                                                                                                                                                                                                                            FBI 18-cv- 1061- 120
      Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 42 of 48




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


PROPERTY OF THE PEOPLE, INC., et al., )
                                      )
          PLAINTIFFS                  ) Civil Action No. 1:17-cv-1193 (JEB)
     vs.                              )
                                      )
                                      )
DEPARTMENT OF JUSTICE,
                                      )
                                      )
          DEFENDANT                   )
                                      )




                              EXHIBIT 15
                          Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 43 of 48
     ~ - 2 0 9 (Rev. 11-24-72)
                o,tlO NAL fOlM NO, 10             SOI0-100
                MAY 1 961 t:DITION
                GSA O EN. REG. NO. 17


                UNITED STATES GOVERNMENT

                Memorandum
TO
                in Anrc., Los           ANGELEsL...I_ _ _ _.......FATE:               1/27/76                          b2
                                                                                                                       b6
                     I __________,
                SA ....
                                                                                                                       b7C
                                                                                                                       b7 D


SUBJECT:


     Dntes of Cont.act
                     1/16/76
     File #~ on which contacted (Use Titl es if File #s not avnilt,ble or wh en Cl provides po sit iv e informntion)


                          C                                                                                                  b6
                                                                                                                             b7C




     Purpose and results of contact
       [ ] NEGATIVE
       52       POSITIVE
       j _.::   STATISTIC

                               Information herein obtained confidentially;
                     informant's name is not to be disclosed in report or
                     otherwise unless it has been decided def'1n1tely that
                     he is to be a witness in a trial or hearing.




       [J       POSITIVE ASSIGNMENT GIVEN (Ghetto only)

     ]fas informant shown any indication of emotio nal inst a bi lity, unn°linhility or
     furnis hing fals" infol'mntion?

                                                                                          Coverage
     ~ Informant certified that he has furnished all information obtained by him
           s ince last contact, Including information concerning narcotics.
     PERSONAL DATA
                                                                                           SE                          b2
                                                                                           SERI                        b6
                                                                                                                       b7C
                                                                                                                       b7D

                      WOH/pla
                       ( 4)
      Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 44 of 48




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


PROPERTY OF THE PEOPLE, INC., et al., )
                                      )
          PLAINTIFFS                  ) Civil Action No. 1:17-cv-1193 (JEB)
     vs.                              )
                                      )
                                      )
DEPARTMENT OF JUSTICE,
                                      )
                                      )
          DEFENDANT                   )
                                      )




                              EXHIBIT 16
                                                        •
            Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 45 of 48



Automated Serial Permanent Charge-Out
FD-5a (1-5-94)
                                                         Date: 04/27/06              Time: 12:03

Case ID: 92L-PH-99239-HRA          Serial: 6

Description of Document:

  Type      OTHER
  Date      12/01/05
  To        PHILADELPHIA
  From      PHILADELPHIA
  Topic:    I NTERGENCY AGREEMENT !

Reason for Permanent Charge-Out:

 I Case   unconsolid~ tion .   1
Unconsolidated back to:

  Case ID: 194A-PH-C99518          Serial: 5
                                                                                                         b6 -1
Employee:!_ _ _ _ _ _ _ _ __                                                                             b7C -1




                                                           SEARCHED !\Tu,t INDEXED   ··•     1   ~
                                                           9fR!ALl7E0-    FtlEO.~W-

                                                                    APR 2? 2006

                                                                                 -l -
                                                                                           People-1057
      Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 46 of 48




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


PROPERTY OF THE PEOPLE, INC., et al., )
                                      )
          PLAINTIFFS                  ) Civil Action No. 1:17-cv-1193 (JEB)
     vs.                              )
                                      )
                                      )
DEPARTMENT OF JUSTICE,
                                      )
                                      )
          DEFENDANT                   )
                                      )




                              EXHIBIT 17
       Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 47 of 48


From:           Tilghman, Michael (USADC)
To:             Jeffrey Light
Subject:        Property of the People, Inc., et al. v. Department of Justice, Civil action No. 17-1193
Date:           Tuesday, July 14, 2020 3:29:42 PM


Mr. Light:

Please see the below responses to the remaining four of the six questions you posed.


1. Could the FBI provide a more detailed explanation of the destruction of documents
(paragraph 55)?



RESPONSE: The FBI provided information regarding destruction of records via email on or
around June 17, 2020.



2. Could the FBI re-check whether the investigations to which Exemption 7(A) was applied
have concluded?



RESPONSE: The FBI re-checked all of its Exemptions 7(A) claims. As a result of this check,
the FBI is releasing a file number on Bates page People-3862 as the investigation is no longer
pending. The remaining 7(A) claims were confirmed valid, as investigations are still pending.



3. Is the FBI contending that only the file numbers are exempt under 7(A) or also that the
subject matter of the investigations is also exempt? (Paragraph 98)



RESPONSE: The FBI is asserting Exemption 7(A) to exempt both the file numbers and the
subject matter pertaining to pending investigations.



4. I’m not clear about the status of records relating to the 1981 report, which is discussed in
the next-to-last paragraph of the Court’s Opinion. What bates number was assigned to the
documents relating to the 1981 report and which paragraph(s) of the draft declaration justify
any withholdings?



RESPONSE: Paragraphs 148-161iii of the Third Declaration of David M. Hardy dated
February 7th, 2020 provide the FBI’s justification for its assertions of FOIA Exemptions (b)(7)
(D) and (b)(7)(E) to withhold in full records responsive to Plaintiffs’ request relating to file
numbers 137-NY-19967 and 137-22152, including the documents provided by Plaintiffs and
      Case 1:17-cv-01193-JEB Document 56-2 Filed 10/19/20 Page 48 of 48


referenced in this question. RIDS was unable confirm these records were placed in the public
domain by the FBI. Therefore, RIDS did not consider the release of these records an
authorized official disclosure by the agency. The FBI does not routinely release third party
informant records to the public.



5. There is not much information provided by CBP about their withholdings. Could additional
information be provided either through the FBI or a separate declaration from CBP (similar
to what EOUSA did)?



RESPONSE: The FBI reached out to CBP on multiple occasions requesting additional
information. Unfortunately, those attempts have been unsuccessful. The FBI is unaware of
CBP’s current operations status in the face of the COVID-19 pandemic.



6. What is the nature of the documents withheld by ICE? Are they printouts from a particular
database or are they specific forms? We’re trying to figure out whether there is material that
can be segregated.



RESPONSE: The FBI provided information regarding ICE documents via email on or around
June 17, 2020.



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